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10

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12                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13
     CALIFORNIA COALITION FOR WOMEN
14   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;       CASE NO. 4:23-CV-04155-YGR
     G.M.; A.S.; and L.T., individuals on behalf of
15   themselves and all others similarly situated,
16                             Plaintiffs             UNITED STATES’ ADMINISTRATIVE
                         v.                           MOTION TO FILE DOCUMENTS AND
17                                                    EXCERPTS UNDER SEAL
     UNITED STATES OF AMERICA FEDERAL
18   BUREAU OF PRISONS, a governmental entity;        FILED UNDER SEAL
     BUREAU OF PRISONS DIRECTOR
19   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
20   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
21   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
22   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
23   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
24   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
25   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
26   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
27
                              Defendants.
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     ADMIN. MOTION TO FILE UNDER SEAL
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 1            Pursuant to Civil Local Rules 79-5 of the United States District Court for the Northern District of

 2 California, the United States of America respectfully requests that it be permitted to file excerpts of

 3 concurrent filings under seal. The United States has filed with the Court a response to its Order to Show

 4 Cause. Attached to this response is a declaration of Arthur Dulgov, FCI Dublin’s Interim Warden, along

 5 with documents referencing incidents about specific inmates. This information contains private

 6 information of individuals protected by the Privacy Act. Further, internal documents about inmate safety

 7 and transfer decisions relate to prison security.

 8            Good cause exists for this request. As grounds for this administrative motion, and in response to
 9 Plaintiffs’ motion, the United States has satisfied Civil Local Rule 7-10, which requires:

10                    (1) a specific statement of the applicable legal standard and the reasons for
              keeping a document under seal, including an explanation of: (i) the legitimate private or
11
              public interests that warrant sealing; (ii) the injury that will result if sealing is denied; and
12            (iii) why a less restrictive alternative to sealing is not sufficient;

13                       (2) evidentiary support from declarations where necessary; and

14                    (3) a proposed order that is narrowly tailored to seal only the sealable material,
              and which lists in table format each document or portion thereof that is sought to be
15
              sealed. Civil Local Rule 7-10(c).
16
              There are many portions of Dulgov’s Declaration that reference specific inmates by name who
17
     have not consented to the release of their information. Likewise, the exhibits attached to the declaration
18
     are medical records of inmates or contain private information of inmates. The Privacy Act prohibits an
19
     agency from “disclos[ing] any record which is contained in a system of records by any means of
20
     communication to any person, or to another agency, except pursuant to a written request by, or with the
21
     prior written consent of, the individual to whom the record pertains.” 5 U.S.C. § 552a(b). A record, in
22
     turn, is defined as “any item, collection, or grouping of information about an individual that is
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     maintained by an agency, including, but not limited to, his . . . medical history, and criminal or
24
     employment history and that contains his name, or the identifying number, symbol, or other identifying
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     particular assigned to the individual.” Portions of Dulgov’s declaration and the exhibits attached to the
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     declaration are such records that the United States does not have written consent to publicly disclose.
27
     Dulgov also recognizes in his declaration that it is important to keep medical records, inmate’s
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 1 identities, and private information about inmates out of the public record, as they have privacy rights to

 2 such information. Dulgov Declaration, ¶¶ 6, 8, 17.

 3            There are also documents attached to Dulgov’s declaration related to institution management,

 4 that, if disclosed, could jeopardize safety and security. Maintaining the confidentiality of documents

 5 with detailed information about prison management serves a compelling interest. See In re Copley Press,

 6 Inc., 518 F.3d 1022, 1028 (9th Cir. 2008). Maintaining the security of prisons is such a compelling

 7 interest, as the issues of discipline, order, safety, and security in penal institutions are crucial. Cutter v.

 8 Wilkinson, 544 U.S. 709, 723, (2005); Warsoldier v. Woodford, 418 F.3d 989, 998 (9th Cir. 2005)

 9 (stating prison security “clearly is” a compelling state interest).

10            Exhibits 3 and 12 in particular include summaries and analysis of staffing in the SHU. Exhibit 3

11 refers to staffing and discretionary decisions, which could jeopardize institutional safety. Dulgov

12 Declaration, ¶ 6. Exhibit 12 discusses the specifics of institution management, which could affect safety

13 and security. Dulgov Declaration, ¶ 12.

14            Sealing the documents containing private information of individuals and sensitive prison

15 administration information is the most narrow way to protect such information. The United States does

16 not seek to seal entire briefs or argument, but only those very few portions of the briefs discussing

17 private information of individuals.

18            A proposed order is attached that is narrowly tailored to seal these materials and lists the pages

19 and lines of the material to be redacted on specific filings.

20            Therefore, to preserve the integrity of its ongoing investigations, the United States requests that

21 the Court enter an order under Civil Local Rule 79-5 to place the following excerpts in the United

22 States’ response to the Court’s Order to Show Cause under seal:

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 1      Document and Portion of               Evidence in Support of                     Ruling
         Document to be Sealed                        Sealing
 2
      Exhibit 2, Inmate’s Name            5 U.S.C. § 552a; Dulgov
 3                                        Declaration, ¶¶ 6, 8
      Exhibit 3                           5 U.S.C. § 552a; Dulgov
 4
                                          Declaration, ¶ 6
 5    Exhibit 5 through 11, medical       5 U.S.C. § 552a; Dulgov
 6    records of inmates                  Declaration, ¶ 6, 8
      Exhibit 12                          5 U.S.C. § 552a; Dulgov
 7
                                          Declaration, ¶ 16
 8    Exhibits 13 and 14                  5 U.S.C. § 552a; Dulgov
 9                                        Declaration, ¶ ¶ 8, 17

10    Dulgov Declaration, ¶ 5,            5 U.S.C. § 552a; Dulgov
      inmate’s name                       Declaration, ¶¶ 6, 8
11
      Dulgov Declaration, ¶ 6,            5 U.S.C. § 552a; Dulgov
12    inmate’s name                       Declaration, ¶¶ 6, 8
13    Dulgov Declaration, ¶¶ 8-14         5 U.S.C. § 552a; Dulgov
                                          Declaration, ¶ 8
14
      Dulgov Declaration, ¶ 15,           5 U.S.C. § 552a; Dulgov
15    inmates’ names and medical          Declaration, ¶ 8
      information
16
      Dulgov Declaration, ¶ 16,           5 U.S.C. § 552a; Dulgov
17    inmate’s name                       Declaration, ¶¶ 6, 8

18    Dulgov Declaration, ¶ 17,           5 U.S.C. § 552a; Dulgov
      inmates’ names and medical          Declaration, ¶ 17
19    information
      Dulgov Declaration, ¶ 18,           5 U.S.C. § 552a
20    inmate’s name
21

22
              WHEREFORE, the United States respectfully requests that the Court grant this Administrative
23
     Motion and enter the attached proposed order sealing excerpts of the United States’ filing under seal.
24
              Signed this 17th day of February, 2024.
25
                                                   JESSE A. LASLOVICH
26                                                 United States Attorney
27
                                                   /s/ ABBIE J.N. CZIOK
28                                                 ABBIE J.N. CZIOK

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     ADMIN. MOTION TO FILE UNDER SEAL
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